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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
ROBERT J. JEAN,
                           Plaintiff,                           JUDGMENT
         v.                                                     22-cv-03237-JRC
4 SQUARE MANAGEMENT, LLC, 5 SQUARE
MANAGEMENT, LLC, EAST HARLEM 119 CORP.,
JUNCTION ELMHURST NY CORP, PARK NORTH 1 LLC,
PARK NORTH 9 LLC, PARK SOHO LLC, PP
MANAGEMENT 1 CORP., PPS 37TH AVENUE LLC,
PPS 77 LLC, PPS 100 LLC, PPS 9201 LLC, PPS COOK LLC,
PPS DEKALB LLC, PPS GOLD LLC, PPS LAFAYETTE CORP,
PPS MANAGEMENT LLC, PPS STANWIX LLC,
PPS TROUTMAN LLC, PPS UNION LLC,
PPS UTICA LLC, VERNON BLVD PARK LLC,
WEST 15 PARK LLC ,

                           Defendants.
----------------------------------------------------------- X
         A Minute Entry and Order of Honorable James R. Cho, United States Magistrate Judge,

having been filed on June 12, 2023, granting plaintiff's Motion for Judgment Based on

Settlement in the amount of $25,000; and granting plaintiff's request for $1,000 in attorneys' fees

incurred to enforce the settlement agreement; it is

        ORDERED and ADJUDGED that plaintiff's Motion for Judgment Based on

Settlement in the amount of $25,000 is granted; that plaintiff's request for $1,000 in attorneys'

fees incurred to enforce the settlement agreement is granted; and that judgment is hereby entered

in favor of plaintiff in the total amount of $26,000.

Dated: Brooklyn, NY                                             Brenna B. Mahoney
       June 29, 2023                                            Clerk of Court

                                                                By: /s/Jalitza Poveda
                                                                        Deputy Clerk
